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             Case  6XPPRQVLQD&LYLO$FWLRQ0,:'
                      1:23-cv-00201-PLM-RSK           5HY
                                                               ECF                      No. 28, PageID.808 Filed 06/12/23 Page 1 of 9

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                           Sanjay Gupta
                                                                                                                &DVH1R 23-cv-00201-PLM-RSK
                                                                                                                +RQ Paul L. Maloney
                                                                                               72 Brian Quinn
                                   Y
                                                                                          $''5(66 Michigan State University
 Teresa K. Woodruff, Thomas Jeitschko, Samuel L.                                                          Office of General Counsel
Stanley, Nicole Schmidtke, Allison Towe, Ann Austin,                                                      Hannah Administration Building
   Emily Gerkin Guerrant, Brian Quinn, Board of                                                           426 Auditorium Road, Room 494
   Trustees, Dianne Byrum, Dennis Denno, et al.                                                           East Lansing, MI 48824
                                                                                                    3/$,17,))253/$,17,))¶6$77251(<1$0($1'$''5(66
 $ODZVXLWKDVEHHQILOHGDJDLQVW\RX
                                                                                                      Nancy Temple
                                                                                                      Katten & Temple, LLP
 <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH
                                                                                                      209 S. LaSalle Street, Suite 950
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ                                      Chicago, IL 60604
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ                                         ntemple@kattentemple.com 312-663-0800
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
 MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
 GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
 RUPRWLRQZLWKWKH&RXUW
 7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

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                                                                                                      %\'HSXW\&OHUN                                                 'DWH


                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU                                         Brian Quinn                                             ZDVUHFHLYHGE\PHRQ                                          
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                          DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                       
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                       
   2WKHU (specify)                                                                                                                                                                

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 ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
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 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
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             Case  6XPPRQVLQD&LYLO$FWLRQ0,:'
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                                                               ECF                      No. 28, PageID.809 Filed 06/12/23 Page 2 of 9

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                           Sanjay Gupta
                                                                                                                &DVH1R 23-cv-00201-PLM-RSK
                                                                                                                +RQ Paul L. Maloney
                                                                                               72 Brianna Scott
                                   Y
                                                                                          $''5(66 6671 Windflower Way
 Teresa K. Woodruff, Thomas Jeitschko, Samuel L.                                                          Norton Shores, MI 49444
Stanley, Nicole Schmidtke, Allison Towe, Ann Austin,
   Emily Gerkin Guerrant, Brian Quinn, Board of
   Trustees, Dianne Byrum, Dennis Denno, et al.

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                                                                                                      Nancy Temple
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 <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH
                                                                                                      209 S. LaSalle Street, Suite 950
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ                                      Chicago, IL 60604
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ                                         ntemple@kattentemple.com 312-663-0800
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
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 GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
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                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU                                       Brianna Scott                                             ZDVUHFHLYHGE\PHRQ                                          
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
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 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                          DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                       
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                       
   2WKHU (specify)                                                                                                                                                                

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 ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
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                                                                                                                                     Server’s signature

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                                              Server’s printed name and title



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             Case  6XPPRQVLQD&LYLO$FWLRQ0,:'
                      1:23-cv-00201-PLM-RSK           5HY
                                                               ECF                      No. 28, PageID.810 Filed 06/12/23 Page 3 of 9

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                           Sanjay Gupta
                                                                                                                &DVH1R 23-cv-00201-PLM-RSK
                                                                                                                +RQ Paul L. Maloney
                                                                                               72 Daniel Kelly
                                   Y
                                                                                          $''5(66 6372 Simler Drive
 Teresa K. Woodruff, Thomas Jeitschko, Samuel L.                                                          Clarkston, MI 48346
Stanley, Nicole Schmidtke, Allison Towe, Ann Austin,
   Emily Gerkin Guerrant, Brian Quinn, Board of
   Trustees, Dianne Byrum, Dennis Denno, et al.

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                                                                                                      Nancy Temple
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 <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH
                                                                                                      209 S. LaSalle Street, Suite 950
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ                                      Chicago, IL 60604
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ                                         ntemple@kattentemple.com 312-663-0800
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
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 GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
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                                                                                                      %\'HSXW\&OHUN                                                 'DWH


                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU                                         Daniel Kelly                                            ZDVUHFHLYHGE\PHRQ                                          
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                          DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                       
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                       
   2WKHU (specify)                                                                                                                                                                

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 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                                              Server’s printed name and title



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             Case  6XPPRQVLQD&LYLO$FWLRQ0,:'
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                                                               ECF                      No. 28, PageID.811 Filed 06/12/23 Page 4 of 9

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                           Sanjay Gupta
                                                                                                                &DVH1R 23-cv-00201-PLM-RSK
                                                                                                                +RQ Paul L. Maloney
                                                                                               72 Dennis Denno
                                   Y
                                                                                          $''5(66 410 Clarendon Road
 Teresa K. Woodruff, Thomas Jeitschko, Samuel L.                                                          East Lansing, MI 48823
Stanley, Nicole Schmidtke, Allison Towe, Ann Austin,
   Emily Gerkin Guerrant, Brian Quinn, Board of
   Trustees, Dianne Byrum, Dennis Denno, et al.

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                                                                                                      209 S. LaSalle Street, Suite 950
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ                                      Chicago, IL 60604
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ                                         ntemple@kattentemple.com 312-663-0800
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
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                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU                                       Dennis Denno                                              ZDVUHFHLYHGE\PHRQ                                          
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
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   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                       
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   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                       
   2WKHU (specify)                                                                                                                                                                

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                                                               ECF                      No. 28, PageID.812 Filed 06/12/23 Page 5 of 9

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                           Sanjay Gupta
                                                                                                                &DVH1R 23-cv-00201-PLM-RSK
                                                                                                                +RQ Paul L. Maloney
                                                                                               72 Sandy Pierce
                                   Y
                                                                                          $''5(66 2025 Woodward Ave
 Teresa K. Woodruff, Thomas Jeitschko, Samuel L.                                                          Detroit, MI 48226
Stanley, Nicole Schmidtke, Allison Towe, Ann Austin,
   Emily Gerkin Guerrant, Brian Quinn, Board of
   Trustees, Dianne Byrum, Dennis Denno, et al.

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                                                                                                      209 S. LaSalle Street, Suite 950
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 7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

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    )HGHUDO%XLOGLQJ:0LFKLJDQ$YH.DODPD]RR0,
    )HGHUDO%XLOGLQJ:$OOHJDQ/DQVLQJ0,


                                                                                                      %\'HSXW\&OHUN                                                 'DWH


                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU                                        Sandy Pierce                                             ZDVUHFHLYHGE\PHRQ                                          
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                          DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                       
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                       
   2WKHU (specify)                                                                                                                                                                

       0\IHHVDUHIRUWUDYHODQG                                        IRUVHUYLFHVIRUDWRWDORI                                 
 ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
 'DWH
                                                                                                                                     Server’s signature

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                                              Server’s printed name and title



                                                                                                                                   Server’s address
$2 5HY
             Case  6XPPRQVLQD&LYLO$FWLRQ0,:'
                      1:23-cv-00201-PLM-RSK           5HY
                                                               ECF                      No. 28, PageID.813 Filed 06/12/23 Page 6 of 9

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                           Sanjay Gupta
                                                                                                                &DVH1R 23-cv-00201-PLM-RSK
                                                                                                                +RQ Paul L. Maloney
                                                                                               72 Renee Knake Jefferson
                                   Y
                                                                                          $''5(66 885 Pebblebrook Lane
 Teresa K. Woodruff, Thomas Jeitschko, Samuel L.                                                          East Landing, MI 48823
Stanley, Nicole Schmidtke, Allison Towe, Ann Austin,
   Emily Gerkin Guerrant, Brian Quinn, Board of
   Trustees, Dianne Byrum, Dennis Denno, et al.

                                                                                                    3/$,17,))253/$,17,))¶6$77251(<1$0($1'$''5(66
 $ODZVXLWKDVEHHQILOHGDJDLQVW\RX
                                                                                                      Nancy Temple
                                                                                                      Katten & Temple, LLP
 <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH
                                                                                                      209 S. LaSalle Street, Suite 950
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ                                      Chicago, IL 60604
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ                                         ntemple@kattentemple.com 312-663-0800
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
 MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
 GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
 RUPRWLRQZLWKWKH&RXUW
 7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

 )HGHUDO%XLOGLQJ0LFKLJDQ6W1:*UDQG5DSLGV0,
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    )HGHUDO%XLOGLQJ:0LFKLJDQ$YH.DODPD]RR0,
    )HGHUDO%XLOGLQJ:$OOHJDQ/DQVLQJ0,


                                                                                                      %\'HSXW\&OHUN                                                 'DWH


                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU                              Renee Knake Jefferson                                              ZDVUHFHLYHGE\PHRQ                                          
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                          DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                       
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                       
   2WKHU (specify)                                                                                                                                                                

       0\IHHVDUHIRUWUDYHODQG                                        IRUVHUYLFHVIRUDWRWDORI                                 
 ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
 'DWH
                                                                                                                                     Server’s signature

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                                              Server’s printed name and title



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$2 5HY
             Case  6XPPRQVLQD&LYLO$FWLRQ0,:'
                      1:23-cv-00201-PLM-RSK           5HY
                                                               ECF                      No. 28, PageID.814 Filed 06/12/23 Page 7 of 9

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                           Sanjay Gupta
                                                                                                                &DVH1R 23-cv-00201-PLM-RSK
                                                                                                                +RQ Paul L. Maloney
                                                                                               72 Rema Vassar
                                   Y
                                                                                          $''5(66 19481 Canterbury Road
 Teresa K. Woodruff, Thomas Jeitschko, Samuel L.                                                          Detroit, MI 48221
Stanley, Nicole Schmidtke, Allison Towe, Ann Austin,
   Emily Gerkin Guerrant, Brian Quinn, Board of
   Trustees, Dianne Byrum, Dennis Denno, et al.

                                                                                                    3/$,17,))253/$,17,))¶6$77251(<1$0($1'$''5(66
 $ODZVXLWKDVEHHQILOHGDJDLQVW\RX
                                                                                                      Nancy Temple
                                                                                                      Katten & Temple, LLP
 <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH
                                                                                                      209 S. LaSalle Street, Suite 950
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ                                      Chicago, IL 60604
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ                                         ntemple@kattentemple.com 312-663-0800
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
 MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
 GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
 RUPRWLRQZLWKWKH&RXUW
 7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

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    )HGHUDO%XLOGLQJ:0LFKLJDQ$YH.DODPD]RR0,
    )HGHUDO%XLOGLQJ:$OOHJDQ/DQVLQJ0,


                                                                                                      %\'HSXW\&OHUN                                                 'DWH


                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU                                       Rema Vassar                                               ZDVUHFHLYHGE\PHRQ                                          
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                          DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                       
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                       
   2WKHU (specify)                                                                                                                                                                

       0\IHHVDUHIRUWUDYHODQG                                        IRUVHUYLFHVIRUDWRWDORI                                 
 ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
 'DWH
                                                                                                                                     Server’s signature

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                                              Server’s printed name and title



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             Case  6XPPRQVLQD&LYLO$FWLRQ0,:'
                      1:23-cv-00201-PLM-RSK           5HY
                                                               ECF                      No. 28, PageID.815 Filed 06/12/23 Page 8 of 9

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                           Sanjay Gupta
                                                                                                                &DVH1R 23-cv-00201-PLM-RSK
                                                                                                                +RQ Paul L. Maloney
                                                                                               72 Kelly Tebay
                                   Y
                                                                                          $''5(66 5706 Wellesley Lane
 Teresa K. Woodruff, Thomas Jeitschko, Samuel L.                                                          Ypsilanti, MI 48197
Stanley, Nicole Schmidtke, Allison Towe, Ann Austin,
   Emily Gerkin Guerrant, Brian Quinn, Board of
   Trustees, Dianne Byrum, Dennis Denno, et al.

                                                                                                    3/$,17,))253/$,17,))¶6$77251(<1$0($1'$''5(66
 $ODZVXLWKDVEHHQILOHGDJDLQVW\RX
                                                                                                      Nancy Temple
                                                                                                      Katten & Temple, LLP
 <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH
                                                                                                      209 S. LaSalle Street, Suite 950
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ                                      Chicago, IL 60604
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ                                         ntemple@kattentemple.com 312-663-0800
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
 MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
 GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
 RUPRWLRQZLWKWKH&RXUW
 7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

 )HGHUDO%XLOGLQJ0LFKLJDQ6W1:*UDQG5DSLGV0,
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    )HGHUDO%XLOGLQJ:0LFKLJDQ$YH.DODPD]RR0,
    )HGHUDO%XLOGLQJ:$OOHJDQ/DQVLQJ0,


                                                                                                      %\'HSXW\&OHUN                                                 'DWH


                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU                                         Kelly Tebay                                             ZDVUHFHLYHGE\PHRQ                                          
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                          DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                       
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                       
   2WKHU (specify)                                                                                                                                                                

       0\IHHVDUHIRUWUDYHODQG                                        IRUVHUYLFHVIRUDWRWDORI                                 
 ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
 'DWH
                                                                                                                                     Server’s signature

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                                              Server’s printed name and title



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$2 5HY
             Case  6XPPRQVLQD&LYLO$FWLRQ0,:'
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                                                               ECF                      No. 28, PageID.816 Filed 06/12/23 Page 9 of 9

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                           Sanjay Gupta
                                                                                                                &DVH1R 23-cv-00201-PLM-RSK
                                                                                                                +RQ Paul L. Maloney
                                                                                               72 Dianne Byrum
                                   Y
                                                                                          $''5(66 4933 Bellevue Road
 Teresa K. Woodruff, Thomas Jeitschko, Samuel L.                                                          Onondaga, MI 49264
Stanley, Nicole Schmidtke, Allison Towe, Ann Austin,
   Emily Gerkin Guerrant, Brian Quinn, Board of
   Trustees, Dianne Byrum, Dennis Denno, et al.

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 $ODZVXLWKDVEHHQILOHGDJDLQVW\RX
                                                                                                      Nancy Temple
                                                                                                      Katten & Temple, LLP
 <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH
                                                                                                      209 S. LaSalle Street, Suite 950
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ                                      Chicago, IL 60604
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ                                         ntemple@kattentemple.com 312-663-0800
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
 MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
 GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
 RUPRWLRQZLWKWKH&RXUW
 7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

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    )HGHUDO%XLOGLQJ:0LFKLJDQ$YH.DODPD]RR0,
    )HGHUDO%XLOGLQJ:$OOHJDQ/DQVLQJ0,


                                                                                                      %\'HSXW\&OHUN                                                 'DWH


                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU                                       Dianne Byrum                                              ZDVUHFHLYHGE\PHRQ                                          
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                          DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                       
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                       
   2WKHU (specify)                                                                                                                                                                

       0\IHHVDUHIRUWUDYHODQG                                        IRUVHUYLFHVIRUDWRWDORI                                 
 ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
 'DWH
                                                                                                                                     Server’s signature

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                                              Server’s printed name and title



                                                                                                                                   Server’s address
